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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

______________________________________________________________________________
UNITED STATES OF AMERICA,                               Case No. 19‐CR‐0295 (PJS/TNL)

                                    Plaintiff,
       v.
                                                                      ORDER
JULIA RENE AYERS,

                                 Defendant.


       On March 13, 2020, the Chief Judge of the U.S. District Court for the District of
Minnesota entered a General Order continuing all jury trials through April 27, 2020 and
continuing all trial specific deadlines in criminal cases through April 27, 2020. See
General Order in re: Court Operations Created by the Exigent Circumstances of
COVID‐19 (March 13, 2020).1 Subsequently, on March 17, 2020, the Chief Judge of the
U.S. District Court for the District of Minnesota entered General Order No. 2 continuing
all criminal proceedings, including grand juries, through April 16, 2020.2 See General
Order No. 2 in re: Court Operations Created by the Exigent Circumstances of COVID‐19
(March 17, 2020).

       These General Orders, which are hereby incorporated by reference, were
imposed based on: (1) the President declaring a national state of emergency in response
to COVID‐19; (2) the Governor of the State of Minnesota declaring a peacetime
emergency to coordinate strategy to protect Minnesotans from COVID‐19; (3) the strong

1    All General Orders related to the COVID‐19 outbreak may be found on the court’s website at
www.mnd.uscourts.gov.
2    General Order No. 2 included the following provisions:
            b. All existing pretrial deadlines are continued until April 16, 2020.
            Hearings on pretrial motions will also be continued, to be rescheduled
            by the presiding judge.
            c. All other criminal proceedings, including pleas, sentencings, and
            hearings on the revocation of supervised release, scheduled to begin
            before April 16, 2020, are continued and will be rescheduled by the
            presiding judge.
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advice to avoid gatherings of more than 10 people; (4) the COVID‐19 restrictions
imposed by local detention facilitates that severely reduced the ability of pretrial
detainees to have a meaningful consultation with legal counsel; and (5) the COVID‐19
restrictions imposed by the Bureau of Prisons that suspended most inmate facility
transfers for 30 days. Specifically, Order No. 2 states the following concerning the
Speedy Trial Act:

             The Court finds that the time of the continuances
             implemented by this order will be excluded under the
             Speedy Trial Act, as the Court specifically finds that the ends
             of justice are served by ordering the continuances and
             outweigh the best interests of the public and of the criminal
             defendants under 18 U.S.C. § 3161(h)(7)(A). Absent further
             order of the Court or any individual judge, the period of
             exclusion shall be from March 17, 2020, to April 16, 2020. The
             Court may extend the period of exclusion as circumstances
             may warrant.

      For the reasons addressed in the General Orders dated March 13, 2020, and
March 17, 2020, and the well‐documented concerns about COVID‐19, the Court
specifically finds that the ends of justice served by ordering the extension outweighs the
best interests of the public and any defendant’s right to a speedy trial, under 18 U.S.C. §
3161(h)(7)(A). In addition, under 18 U.S.C. § 3161(h)(7)(B)(i), the Court finds that a
miscarriage of justice would result if time were not excluded under these unique
circumstances. Accordingly, the time period between March 17, 2020, and April 16,
2020, will be excluded under the Speedy Trial Act, absent further order of the Court.

IT IS SO ORDERED.

Dated: March 30, 2020                         s/Patrick J. Schiltz
                                             Patrick J. Schiltz
                                             United States District Judge




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